O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the
                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No: 5:98CR124-01
                          JUAN SANTOS,Jr.
                                                                           )   USM No: 21608-050
Date of Previous Judgment: April 27, 1999                                  )   Nils E. Gerber
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    37                Amended Offense Level:                                            35
Criminal History Category: IV                Criminal History Category:                                        IV
Previous Guideline Range:  292 to 365 months Amended Guideline Range:                                          235       to 293   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): No reduction in sentence based on the defendant's prior criminal conviction record, previous Rule 35
                     reduction and his significant and continued record of serious disciplinary violations while
                     incarcerated.



III. ADDITIONAL COMMENTS
It is noted that the United States Immigration and Customs Enforcement (ICE) agency filed a detainer regarding the
defendant with the United States Bureau of Prisons on October 30, 2006.



Except as provided above, all provisions of the judgment dated                     April 27, 1999     shall remain in effect.
IT IS SO ORDERED.

Order Date:          October 24, 2008


Effective Date:
                       (if different from order date)


                    Case 5:98-cr-00124-RLV                      Document 103            Filed 10/24/08      Page 1 of 1
